           Case 18-30325                Doc 176         Filed 06/17/21 Entered 06/18/21 00:32:08                                       Desc Imaged
                                                       Certificate of Notice Page 1 of 3
                                                               United States Bankruptcy Court
                                                              Western District of North Carolina
In re:                                                                                                                  Case No. 18-30325-jcw
Karen Sue Blum                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0419-3                                                   User: AutoDkt                                                               Page 1 of 2
Date Rcvd: Jun 15, 2021                                                Form ID: 150                                                               Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 17, 2021:
Recip ID                 Recipient Name and Address
db                     + Karen Sue Blum, 12333 Sandringham Place, Charlotte, NC 28262-0419

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 17, 2021                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 15, 2021 at the address(es) listed below:
Name                               Email Address
A. Burton Shuford
                                   bshuford@abshuford.com
                                   noticesonlynothingelse@gmail.com;abs@trustesolutions.net;aburtonshufordattorneyatlaw@jubileebk.net;sblack@abshuford.com

A. Burton Shuford
                                   on behalf of Trustee A. Burton Shuford bshuford@abshuford.com noticesonlynothingelse@gmail.com;sblack@abshuford.com

A. Burton Shuford
                                   on behalf of Plaintiff A. Burton Shuford Chapter 7 Trustee bshuford@abshuford.com,
                                   noticesonlynothingelse@gmail.com;abs@trustesolutions.net;aburtonshufordattorneyatlaw@jubileebk.net;sblack@abshuford.com

A. Burton Shuford
                                   on behalf of Plaintiff A. Burton Shuford bshuford@abshuford.com noticesonlynothingelse@gmail.com;sblack@abshuford.com

David R. Badger
                                   on behalf of Creditor Gerald Kingsley davebadger@badgerlawnc.com
                                   cmecfnoticesonly@gmail.com;r49231@notify.bestcase.com
        Case 18-30325              Doc 176       Filed 06/17/21 Entered 06/18/21 00:32:08           Desc Imaged
                                                Certificate of Notice Page 2 of 3
District/off: 0419-3                                          User: AutoDkt                               Page 2 of 2
Date Rcvd: Jun 15, 2021                                       Form ID: 150                               Total Noticed: 1
Edward P. Bowers
                               ebowers@mbcpafirm.com

U.S. Bankruptcy Administrator Office
                                 alexandria_p_kenny@ncwba.uscourts.gov ba_desk@ncwba.uscourts.gov


TOTAL: 7
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                                                    Certificate of Notice Page 3 of 3
Information to identify the case:
Debtor 1
                       Karen Sue Blum                                       Social Security number or ITIN   xxx−xx−6216
                                                                            EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                    Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                         EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Western District of North Carolina

Case number:          18−30325


                                                              FINAL DECREE

The estate of the above named debtor has been fully administered.

IT IS ORDERED THAT:

        ♦ A. Burton Shuford is discharged as trustee of the estate of the above named debtor and the bond is cancelled.
        ♦ The chapter 7 case of the above named debtor is closed.


Dated: June 15, 2021
BY THE COURT



J. Craig Whitley
United States Bankruptcy Judge


Electronically filed and signed (6/15/21)
